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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                     WESTERN DIVISION


1ST SIGNATURE LENDING, LLC,                  )
                                             )
        Plaintiff/Counter-Defendant,         )
                                             )
v.                                           ) Case No. 2:20-cv-02894 JTF-cgc
                                             )
BRIGHTON BANK,                               )
                                             )
        Defendant/Counter-Plaintiff.         )


                                 JOINT NOTICE OF DISMISSAL


        Relying on Federal Rule of Civil Procedure 41, Plaintiff/Counter-Defendant 1st Signature

Lending, LLC, and Defendant Brighton Bank submit this Joint Notice of Dismissal. The parties

report to the Court that they have entered into a confidential settlement agreement and have both

signed that agreement.    The funds called to be transferred in that agreement have not yet been

paid but will in the next ten days. After payment of the funds, the parties will file a Stipulation

of Dismissal with the Court.

        RESPECTFULLY SUBMITTED, this 14th day of September 2021.




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